                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                    )     Chapter 11
                                                          )
Squirrels Research Labs LLC, et al.,1                     )     Case No. 21-61491
                                                          )     (Jointly Administered)
                          Debtors.                        )
                                                          )     Judge Russ Kendig

         NOTICE OF FILING OF MOTION AND AN ORDER RELATED TO THE
         AUCTION AND SALE OF CERTAIN ASSETS OWNED BY SQUIRRELS
          RESEARCH LABS LLC AND THE MIDWEST DATA COMPANY LLC

        PLEASE TAKE NOTICE that on November 23, 2021, the above-captioned Debtors
filed the Motion for an Order: (A)(I) Establishing and Approving Bid Procedures Related to the
Sale of the Debtor’s Properties Pursuant to 11 U.S.C. §§ 105(A), Including Designation of
Stalking Horse Bidder and Related Bid Protections; (II) Approving Contract/Lease Assumption
and Assignment Procedures and the Form and Notice Thereof; (III) Scheduling the Auction; (IV)
Scheduling a Hearing and Objection Deadline with Respect to the Sale; (V) Approving the Form
and Notice Thereof; and (VI) Granting Related Relief; and (B)(I) Authorizing Sale of Debtor’s
Properties Free and Clear of Liens, Claims, Encumbrances, and Interests Pursuant to 11 U.S.C.
§§ 105 and 363; and (II) Approving Assumption and Assignment of Executory Contracts and
Unexpired Leases; and (C) Granting Related Relief [Docket # 6]

        PLEASE TAKE FURTHER NOTICE that on December 1, 2021, the Court entered an
order with respect to the Motion [Docket # 40] (the “Bidding Procedures Order”) approving the
procedures contemplated therein (the “Bidding Procedures”) for the sale of the Assets (as
defined in the Motion) [Docket # 6]. A copy of the Bidding Procedures is annexed to the
attached Bidding Procedures Order as Exhibit 1. Pursuant to the Bidding Procedures Order, a
final hearing to approve the Auction and Sale is scheduled to take place on January 11, 2022 at
2:00 p.m. (ET) (the “Sale Hearing”).

       PLEASE TAKE FURTHER NOTICE that, to ensure that the Auction and Sales
process maximizes value, the following timeline and deadlines have been established by the
Debtor and approved by the Court, pursuant to the Bidding Procedures Order:

                                                  Key Dates

     Date/Time                                                     Event

December 17, 2021         Deadline by which Debtor must file the Cure Notice with the Court and
                          serve the Cure Notice on the Contract Counterparties

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




21-61491-tnap         Doc 46      FILED 12/03/21              ENTERED 12/03/21 17:28:57              Page 1 of 2
December 31, 2021     Deadline by which Bids (as well as Deposits and all other
                      documentation required under the Bidding Procedures) must be
                      submitted in accordance with the Bidding Procedures

December 31, 2021     Deadline by which to file Assigned Contract Objections

  January 3, 2022     Date on which Auction (if any) shall be held electronically via
                      video/telephone, or at such later date, time, or other place, as selected by
                      Debtor, in consultation with Avnet and the Stalking Horse Bidder, or
                      approved by order of the Court.

 January 10, 2022     Deadline by which objections to the Sale Transaction must be filed

 January 11, 2022     Date on which the Sale Hearing shall occur, subject to the Court’s
                      availability



Dated: December 3, 2021                      /s/ Julie K. Zurn
                                             Marc B. Merklin (0018195)
                                             Julie K. Zurn (0066391)
                                             Brouse McDowell, LPA
                                             388 S. Main Street, Suite 500
                                             Akron, Ohio 44311
                                             Telephone: (330) 535-5711
                                             Facsimile: (330) 253-8601
                                             mmerklin@brouse.com
                                             jzurn@ brouse.com

                                             Proposed Counsel for the Debtors
                                             and Debtors-in-Possession




21-61491-tnap       Doc 46   FILED 12/03/21       ENTERED 12/03/21 17:28:57            Page 2 of 2
